      -                            ·1
                                          •
      ,;·-


 (O .,.,2 (Rev. 1/JB!:) Case        6:06-cr-60011-MC
                        \\.::'.ali• ror Arrest'        Document 246           Filed 08/20/18              Page 1 of 1
      ..
                                       United States District Court                                          Obtos- o 530- 11-ai.t-J
                                                       District of Oregon

UNITED STATES OF AMERICA

                    v.                                        WARRANT FOR ARREST

JOSEPH DIBEE                                                  CASE NUMBER CR 06-60011-AA

To:          The United States Marshal
             and any Authorized United States Officer                                                                                .
                                                                                                                                  .......
                                                                                                                                  co
                                                                                                                                  .......
             YOU ARE HEREBY COMMANDED TO ARREST JOSEPH DIBEE and bring him                                                        U1

forthwith to the nearest magistrate to answer a(n)                                                                                ffi.::
x Second Superseding Indictment O Information D Complaint D Order of court D Violation Notice D Probation
  Violation Petition
                                                                                                                                  ;
charging him with

             Arson - Conspiracy


in violation of Title ___1L United States Code, Section(s) 371, 844(f), 844(i), 844(n), 924(c)(1 )(A)(i) & (B)(ii) & (C)(ii),
1366(a), and 2




                                                                                                                                            I
Thomas M. Coffin                                              United States Magistrate Judge
Name of Issuing Officer                                                Title of Issuing Officer



                                                                     Eugene. Oregon                S-.J.id--0\o
                                                                       Date and Location




Bail fixed at   $_c/g;~~:t_e_~
                           ____. ~--------
                                  _r                                              by    Thomas M. Coffin
                                                                                  Name of Judicial Officer


                                                              RETURN

  This warrant was received and executed with the arrest of the above-named defendant at




  Date Received                               Name and Title of Arresting Officer                 Signat e of Arresting Officer
                   5
  Date of Arrest
